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 1 David V. Roth (State Bar No. 194648)
    david.roth@manningkass.com
 2 Gabriella Pedone (State Bar No. 308384)
    gabriella.pedone@manningkass.com
 3 MANNING & KASS
   ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
   San Francisco, California 94111
 5 Telephone: (415) 217-6990
   Facsimile: (415) 217-6999
 6
   Attorneys for Defendant, TARGET
 7 CORPORATION

 8                                   UNITED STATES DISTRICT COURT
 9              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11 BRYON JACKSON,                                        Case No. 3:21-cv-08458-LB

12                      Plaintiff,                       (State Court Case No. RG21110499)

13             v.                                        DEFENDANT TARGET
                                                         CORPORATION'S REPLY IN SUPPORT
14 TARGET CORPORATION,                                   OF MOTION FOR SUMMARY
                                                         JUDGMENT, OR ALTERNATIVELY,
15                      Defendant.                       SUMMARY ADJUDICATION
16                                                       Hearing Date:     April 20, 2023
                                                         Time:             9:30 a.m.
17                                                       Dept.:            Courtroom B
                                                         Judge:            Hon. Laurel Beeler
18
19
20 TO PLAINTIFF BRYON JACKSON AND HIS ATTORNEYS OF RECORD:

21            Defendant Target Corporation ("Defendant") hereby submits this Reply in support of its
22
     Motion for Summary Judgment, or Alternatively, Summary Adjudication. As set forth herein,
23
     Defendant submits that Plaintiff has failed to carry his burden of setting forth admissible,
24
     probative evidence demonstrating any genuine issue of material fact for trial and, accordingly, the
25
     motion for summary judgment should be granted.
26

27            ///

28            ///
     4867-2455-5100.1                                                             Case No. 3:21-cv-08458-LB
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 1 DATED: April 6, 2023                 MANNING & KASS
                                        ELLROD, RAMIREZ, TRESTER LLP
 2

 3

 4                                      By:          /s/ Gabriella A. Pedone
                                              Gabriella Pedone
 5                                            Attorneys for Defendant, TARGET
                                              CORPORATION
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.         INTRODUCTION
 3
              The essence of Plaintiff's Opposition to Defendants' instant Motion for Summary Judgment
 4
     comes down to three core arguments, i.e., Plaintiff asserts there is a genuine dispute of material fact
 5
     that allegedly precludes summary judgment: (1) that Defendant's employee intentionally hit Plaintiff
 6
     with a trolley cart; (2) Defendant is liable for its employee's alleged intentional tort; and (3) Plaintiff
 7

 8 did not provide evidence that he was injured by Defendant's acts or sustained damages from the

 9 same. However, Plaintiff has not offered any new facts or evidence that was not addressed in

10 Defendant's Motion for Summary Judgment. First, Plaintiff does not raise any new facts or

11
     arguments as to how Defendant's employee allegedly hit him with the trolley cart intentionally.
12
     Plaintiff merely repeats his allegations and deposition statements in that Defendant's employee
13
     "INTENTIONALLY" hit or "Recklessly Touch" the Plaintiff. Opp. at 3:14. As "proof" of this,
14

15 Plaintiff offers the following:

16          "(a)        Plaintiff saw with own "Eyes" Defendant, exerted additional force to
                        the Trolly to cause body injury to Plaintiff, and felt the extra strong push force
17                      form the Trolly when Plaintiff was hit by Defendant. (Dep-P.61. Ln. 3)
            (b)         Plaintiff went over to Defendant and asked her if she was F-ing crazy,
18                      and Defendant replied "Get out Ni**r [sic]". Dep-P.62. Ln. 22)"
19
            Opp. at 3:15-20.
20
              Such facts are not supported by the record or material evidence presented by Plaintiff. The
21
     only support Plaintiff provides of these alleged facts are his depiction of events.
22

23            Second, Plaintiff offers no evidence or argument as to how Defendant's employee was acting

24 within the scope of her employment when she allegedly committed these acts against Plaintiff.

25 Plaintiff did not even claim that Defendant was vicariously liable for Plaintiff's proclaimed injuries

26
     until this opposition. Accordingly, there is no genuine dispute of material fact as to this issue.
27
              Lastly, Plaintiff's demands for punitive damages were stricken per the Court's Order [Dkt.
28
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 1 20] on January 19, 2022. Plaintiff never filed an amended complaint, thus his position as to punitive

 2 damages is moot as he is not entitled to recover such damages. However, Plaintiff has not produced

 3
     or offered any evidence of his injuries, such as medical records or any evidence as to the extent of
 4
     damages he claims to have suffered. Thus, Plaintiff has not substantiated his claims for damages, in
 5
     any amount. Because Plaintiff has not produced evidence of his damages, or any evidence to
 6
     substantiate the amount he seeks to recover, in discovery or his Rule 26(a) disclosures, Plaintiff will
 7

 8 likely be precluded from presenting evidence of the same at trial as it will be deemed inadmissible.

 9 Therefore, Plaintiff's claims as to the same should fail.

10            Consequently, these claims of a genuine issue of material fact raised by Plaintiff are meritless
11
     and do not provide any basis for precluding the instant summary judgment motion in favor of
12
     Defendants.
13
              Plaintiff's Opposition solely references Plaintiff's deposition testimony where he asserts his
14

15 "version" of the facts claiming the Defendant's employee intentionally hit him without providing

16 substantive evidence of such. Moreover, even though Plaintiff references his own deposition

17 testimony, he failed to attach as an exhibit those deposition testimony excerpts. Plaintiff further

18 failed to include a functional link as to his proffered "medical record" in his declaration. Plaintiff
19
     also did not produce this document in discovery or in his Rule 26(a) disclosures. For this reason,
20
     Plaintiff has not produced any evidence of damages and likely will be precluded from doing so as
21
     evidence of such will be inadmissible. Therefore, that evidence is inaccessible and cannot be
22

23 considered.

24            However, even if Plaintiff had attached the deposition testimony excerpts, Plaintiff's

25 references to his deposition testimony only adds doubt to the veracity of his claims and does not

26
     create a genuine issue of material fact. Plaintiff specifically references Plaintiff's deposition
27
     transcript, page 61, line 3, which states, "I – the force in which it hit me, I can assume that she
28
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 1 exerted that force --". Plaintiff himself is not even convinced that Defendant's employee

 2 intentionally hit him, as he established that he can only "assume".

 3
              Plaintiff's claims are entirely unsubstantiated, and when viewed in light of all the other
 4
     material facts in the record, the only justifiable legal result is that Defendant's motion for summary
 5
     judgment should be granted in full. In sum, Plaintiff has failed to carry his burden of setting forth
 6
     admissible evidence demonstrating that he is entitled to relief on any of his claims and, therefore,
 7

 8 the motion for summary judgment should be granted as to all claims. Fed. R. Civ. P. 56.

 9 II.        STATEMENT OF ISSUES
10            1.        Whether summary judgment can be granted as a matter of law as to Plaintiff's cause
11 of action for assault and/or battery.

12            Specifically, whether Defendant's employee intentionally hit Plaintiff with a trolley cart.
13            Specifically, whether Defendant is liable for that alleged intentional tort.
14            2.        Whether summary judgment, or alternatively summary adjudication can be granted
15 as a matter of law as to Plaintiff's claim for damages.

16 III.       DEFENDANT'S OBJECTIONS TO PLAINTIFF'S EVIDENCE
17
              Plaintiff has not submitted any exhibits or extrinsic evidence to support his written
18
     Opposition. Instead, Plaintiff references his deposition testimony, perceivably though line-item
19
     citations, yet he fails to attached those records as evidence. Plaintiff further offers a declaration
20

21 that does not provide substantive evidence. There is a link to a "medical report" embedded in

22 Plaintiff's declaration, however it is not functional. Moreover, no medical report has been provided

23 to Defendant, produced in discovery, nor disclosed in Plaintiff's Rule 26(a) disclosures. For these

24 reasons, the Court should disregard each instance where Plaintiff references his deposition

25
     transcript but does not provide proof, as well as his purported medical report link.
26
              Accordingly, pursuant to Local Rule 7-3(c), Defendant submits the following objections to
27
     the evidence offered in Plaintiff's Opposition:
28
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 1
        Cite:                  Material Objected To:     Grounds for Objection:
 2
        Declaration of Bryon   "Plaintiff saw a doctor   The link to the medical report is not
 3      Jackson, ¶ 7           and attached pending      functional. Even if it were, Plaintiff
 4                             medical result. Medical   failed to authenticate the record. Fed. R.
                               Record.pdf"               Evi. ("FRE") 901. There is no
 5                                                       information as to how, why, when, what
                                                         basis or if the purported documents are a
 6                                                       true and correct copy. The declaration
                                                         provides no factual basis to establish
 7
                                                         that the declarant has personal
 8                                                       knowledge of the document or its
                                                         contents. FRE 602. This statement
 9                                                       includes inadmissible hearsay. FRE
                                                         801(c), 802.
10                                                       This link is irrelevant and should not be
                                                         considered. FRE 401, 402. Plaintiff did
11
                                                         not produce this document during
12                                                       discovery nor did he disclose or produce
                                                         these records in his Rule 26(a)
13                                                       discovery.
        Opposition, 3:13       "(1) Defendant used       Plaintiff does not attach any exhibits to
14                             Trolly to "HIT" or        support this statement. Plaintiff
15                             Recklessly "TOUCH"        references his deposition testimony but
                               the Plaintiff. (Dep-      does not include the deposition
16                             P.72. Ln. 13)"            testimony excerpts. Plaintiff failed to
                                                         authenticate this statement. FRE 901.
17                                                       Plaintiff failed to lay proper foundation
                                                         for asserting this statement. FRE 602.
18                                                       This statement is more prejudicial than
19                                                       probative. FRE 403.

20
        Opposition, 3:14       "(2) Defendant            Plaintiff does not attach any exhibits to
21                             “INTENTIONALLY”           support this statement. Plaintiff
                               hit or “Recklessly        references his deposition testimony but
22
                               Touch” the Plaintiff.     does not include the deposition
23                             (Dep-P.74. Ln. 13)"       testimony excerpts. Plaintiff failed to
                                                         authenticate this statement. FRE 901.
24                                                       Plaintiff failed to lay proper foundation
                                                         for asserting this statement. FRE 602.
25                                                       This statement is more prejudicial than
                                                         probative. FRE 352. This statement is
26
                                                         more prejudicial than probative. FRE
27                                                       403.

28
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 1      Opposition, 3: 16-18   "(a) Plaintiff saw with     Plaintiff does not attach any exhibits to
                               own “Eyes” Defendant,       support this statement. Plaintiff
 2                             exerted additional force    references his deposition testimony but
                               to the Trolly to cause      does not include the deposition
 3
                               body injury to Plaintiff,   testimony excerpts. Plaintiff failed to
 4                             and felt the extra strong   authenticate this statement. FRE 901.
                               push force from the         Plaintiff failed to lay proper foundation
 5                             Trolly when Plaintiff       for asserting this statement. FRE 602.
                               was hit by Defendant.       This statement is more prejudicial than
 6                             (Dep-P.61. Ln. 3)"          probative. FRE 403.
 7

 8      Opposition, 3:19-20    "(b) Plaintiff went over    Plaintiff does not attach any exhibits to
                               to Defendant and asked      support this statement. Plaintiff
 9                             her if she was F-ing        references his deposition testimony but
                               crazy, and Defendant        does not include the deposition
10                             replied “Get out Ni**er     testimony excerpts. Plaintiff failed to
11                             [sic]”. (Dep-P.62. Ln.      authenticate this statement. FRE 901.
                               22)"                        Plaintiff failed to lay proper foundation
12                                                         for asserting this statement. FRE 602.
                                                           This statement is more prejudicial than
13                                                         probative. FRE 403. This statement
                                                           includes inadmissible hearsay,
14                                                         particularly Plaintiff's assertion that
15                                                         "Defendant replied "Get out Ni**er
                                                           [sic]". FRE 801(c), 802.
16

17      Opposition, 3:21       "(3) Defendant “HIT”        Plaintiff does not attach any exhibits to
                               or Touch cause              support this statement. Plaintiff
18
                               “BODY HARM” or              references his deposition testimony but
19                             "OFFENSIVE” and             does not include the deposition
                               NO consent was given.       testimony excerpts. Plaintiff failed to
20                             (Dep-P.62. Ln. 14)"         authenticate this statement. FRE 901.
                                                           Plaintiff failed to lay proper foundation
21                                                         for asserting this statement. FRE 602.
                                                           This statement is more prejudicial than
22
                                                           probative. FRE 403.
23      Opposition, 4:7        "1. Defendant used          Plaintiff does not attach any exhibits to
                               Trolly to intentionally     support this statement. Plaintiff
24                             “HIT” or “TOUCH”            references his deposition testimony but
                               the Plaintiff. (Dep-        does not include the deposition
25                             P.72. Ln. 7&13)"            testimony excerpts. Plaintiff failed to
26                                                         authenticate this statement. FRE 901.
                                                           Plaintiff failed to lay proper foundation
27                                                         for asserting this statement. FRE 602.
                                                           This statement is more prejudicial than
28                                                         probative. FRE 403.
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 1      Opposition, 4:8       "2. Defendant             Plaintiff does not attach any exhibits to
                              “INTENTIALLY”HIT          support this statement. Plaintiff
 2                            or “Recklessly            references his deposition testimony but
                              Touch”the Plaintiff.      does not include the deposition
 3
                              (Dep-P.74. Ln. 13)"       testimony excerpts. Plaintiff failed to
 4                                                      authenticate this statement. FRE 901.
                                                        Plaintiff failed to lay proper foundation
 5                                                      for asserting this statement. FRE 602.
                                                        This statement is more prejudicial than
 6                                                      probative. FRE 403.
 7      Opposition 4:9-10     "3. Defendant             Plaintiff does not attach any exhibits to
                              “Intentionally HIT” or support this statement. Plaintiff
 8                            “Recklessly Touch”        references his deposition testimony but
                              cause “BODY HARM” does not include the deposition
 9                            or “WAS                   testimony excerpts. Plaintiff failed to
                              OFFENSIVE” because authenticate this statement. FRE 901.
10                            NO consent was given Plaintiff failed to lay proper foundation
11                            for touching. (Dep-       for asserting this statement. FRE 602.
                              P.62. Ln. 14)"            This statement is more prejudicial than
12                                                      probative. FRE 403.
        Opposition, 4:14-15   "The Defendant            Plaintiff does not attach any exhibits to
13                            “INTENDED” to get         support this statement. Plaintiff
                              the Plaintiff out of the  references his deposition testimony but
14
                              Starbucks Coffee shop. does not include the deposition
15                            The Defendant told the testimony excerpts. Plaintiff failed to
                              Plaintiff, “Get out       authenticate this statement. FRE 901.
16                            Ni**er [sic]”, after the Plaintiff failed to lay proper foundation
                              “Reckless touching.       for asserting this statement. FRE 602.
17                            (Dep-P.74. Ln. 13)"       This statement is more prejudicial than
                                                        probative. FRE 403. This statement
18
                                                        includes inadmissible hearsay,
19                                                      particularly Plaintiff's assertion that
                                                        "Defendant replied "Get out Ni**er
20                                                      [sic]". FRE 801(c), 802.
        Opposition, 4:17-19   "1. Plaintiff saw with    Plaintiff does not attach any exhibits to
21                            own “Eyes” Defendant, support this statement. Plaintiff
22                            exerted additional force references his deposition testimony but
                              to the Trolly to HIT the does not include the deposition
23                            Defendant and to cause testimony excerpts. Plaintiff failed to
                              body injury to Plaintiff, authenticate this statement. FRE 901.
24                            and felt the extra strong Plaintiff failed to lay proper foundation
                              push force from Trolly for asserting this statement. FRE 602.
25                            when Plaintiff was hit    This statement is more prejudicial than
26                            by Defendant. (Dep-       probative. FRE 403.
                              P.61. Ln. 3)"
27

28
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 1      Opposition, 4:20-21     "2. Plaintiff walked       Plaintiff does not attach any exhibits to
                                over to Defendant and      support this statement. Plaintiff
 2                              asked, “Are was F-ing      references his deposition testimony but
                                crazy”? and Defendant      does not include the deposition
 3
                                replied “Get out Ni**er    testimony excerpts. Plaintiff failed to
 4                              [sic]”. (Dep-P.62. Ln.     authenticate this statement. FRE 901.
                                22)"                       Plaintiff failed to lay proper foundation
 5                                                         for asserting this statement. FRE 602.
                                                           This statement is more prejudicial than
 6                                                         probative. FRE 403. This statement
 7                                                         includes inadmissible hearsay,
                                                           particularly Plaintiff's assertion that
 8                                                         "Defendant replied "Get out Ni**er
                                                           [sic]". FRE 801(c), 802.
 9      Opposition, 5:4-5       "(a) Defendant exerted     Plaintiff does not attach any exhibits to
                                additional force/push      support this assertion. Plaintiff failed to
10                              on the Trolly to cause     lay proper foundation for asserting this
11                              body damage or Touch       statement. FRE 602. This assertion is
                                because Plaintiff felt     more prejudicial than probative. FRE
12                              the extra strong push      403.
                                force from the Trolly
13                              when Plaintiff was hit."
14
        Opposition, 5:6         "(b) Plaintiff went over   Plaintiff does not attach any exhibits to
15                              to Defendant and asked     support this assertion. Plaintiff failed to
                                her if she was crazy,      lay proper foundation for asserting this
16                              and Defendant replied      statement. FRE 602. This assertion is
                                “Get out Ni**er [sic]”"    more prejudicial than probative. FRE
17                                                         403. This statement includes
                                                           inadmissible hearsay, particularly
18
                                                           Plaintiff's assertion that "Defendant
19                                                         replied "Get out Ni**er [sic]". FRE
                                                           801(c), 802.
20

21
     IV.      THE MATERIAL FACTS BEFORE THE COURT ARE UNCONTROVERTED AND
22            APTLY DEMONSTRATE THAT SUMMARY JUDGMENT IS PROPER AND
              WARRANTED
23

24            Summary judgment is appropriate only where the record, read in the light most

25 favorable to the nonmoving party, indicates that "there is no genuine issue as to any material fact

26
     and . . . the moving party is entitled to a judgment as a matter of law." Fed. R. Civ. P. 56(c)(2); see
27
     also Celotex Corp. v. Catrett, 477 U.S. 317, 323-24, 106 S. Ct. 2548, 91 L. Ed. 2d 265
28
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 1 (1986). Material facts are those necessary to the proof or defense of a claim, and are determined

 2 by reference to substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct.

 3
     2505, 91 L. Ed. 2d 202 (1986). "[A] complete failure of proof concerning an essential element of
 4
     the nonmoving party's case necessarily renders all other facts immaterial." Celotex, 477 U.S. at
 5
     322. A fact issue is genuine "if the evidence is such that a reasonable jury could return a verdict
 6
     for the nonmoving party." Anderson, 477 U.S. at 248. To demonstrate a genuine issue, the
 7

 8 opposing party "must do more than simply show that there is some metaphysical doubt as to the

 9 material facts. . . . [T]he nonmoving party must come forward with specific facts showing that

10 there is a genuine issue for trial." Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

11
     586-87, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986) (citations and internal quotation marks omitted).
12
              In deciding a motion for summary judgment, "[t]he evidence of the nonmovant is to be
13
     believed, and all justifiable inferences are to be drawn in his favor." Anderson, 477 U.S. at
14

15 255. Nevertheless, inferences are not drawn out of the air, and the opposing party must produce a

16 factual predicate from which the inference may be drawn. See Richards v. Nielsen Freight Lines,

17 602 F. Supp. 1224, 1244-45 (E.D. Cal. 1985), aff'd, 810 F.2d 898, 902 (9th Cir. 1987).

18            The burden initially is on the moving party to demonstrate an absence of a genuine issue of
19
     material fact. Celotex, 477 U.S. at 323. In order to satisfy this burden, "the moving party must
20
     either produce evidence negating an essential element of the nonmoving party's claim or defense
21
     or show that the nonmoving party does not have enough evidence of an essential element to carry
22

23 its ultimate burden of persuasion at trial." Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc.,

24 210 F.3d 1099, 1102 (9th Cir. 2000). If the moving party meets its burden, then the nonmoving

25 party must produce enough evidence to rebut the moving party's claim and create a genuine issue

26
     of material fact. See Celotex, 477 U.S. at 322-23. If the nonmoving party meets this burden, the
27
     motion will be denied. Nissan Fire & Marine Ins. Co. v. Fritz Co. at 1103.
28
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 1   A.        Defendant Has Established That Plaintiff Has No Evidence To Support Intentionality
 2                                           Of Assault Or Battery
 3            As stated above, Plaintiff has not offered any evidence to support his allegations that

 4 Defendant's employee intentionally hit him with a trolley cart. Plaintiff failed to attach as exhibits

 5
     his deposition testimony that allegedly supports his position.
 6
              Intent is a necessary element of both assault and battery. See Plotnik v. Meihaus (2012)
 7
     208 Cal.App.4th 1590, 1603-1604; So v. Shin (2013) 212 Cal.App.4th 652, 669; CACI No. 1300,
 8
     1301 (2023). A defendant acted intentionally is he or she intended to commit a battery or if he or
 9

10 she was substantially certain that the battery would result from his or her conduct. CACI No. 1320

11 (2023). “As a general rule, California law recognizes that ‘. . . every person is presumed to intend

12 the natural and probable consequences of his acts.’ Thus, a person who acts willfully may be said

13
     to intend ‘ “ ‘those consequences which (a) represent the very purpose for which an act is done
14
     (regardless of the likelihood of occurrence), or (b) are known to be substantially certain to result
15
     (regardless of desire).’ ” ’ The same definition is applied to many intentional torts.” Gomez v.
16

17 Acquistapace (1996) 50 Cal.App.4th 740, 746 [57 Cal.Rptr.2d 821] [internal citations omitted].

18 Outside of Plaintiff's self-serving statements made only after he filed his pleadings, there is no
19 evidence that Defendant's employee intentionally hit Plaintiff. Even then, Plaintiff's thoughts and
20 beliefs do not rise to the level of facts and should not be considered without further supporting

21
     evidence. Nicosia v. De Rooy, 72 F. Supp. 2d 1093, 1101 (N.D. Cal. 1999) (distinguishing
22
     between opinions and fact in defamation case).
23
              Defendant has clearly shown that Plaintiff failed to establish the element of intent for a
24

25 cause of action for assault and/or battery. Thus the burden shifts to Plaintiff to propose additional

26 evidence to create a genuine issue of material fact. However, Plaintiff failed to meet this burden

27 and did not offer any evidence or support for his claims in his Opposition.

28
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 1          B.        Plaintiff Has Not Set Forth Any Viable Evidence That Defendant Is Liable For
 2                                Its Employee's Alleged Intentional Tort
 3          Plaintiff has never addressed how Defendant is liable for the alleged intentional tort caused

 4 by its employee. Neither has Plaintiff established or even asserted how Defendant's employee's

 5
     alleged actions fall within the scope of her employment. An employer is liable for an employee's
 6
     willful, malicious and even criminal torts if the acts fall within the scope of his or employment.
 7
     Mary M. v. City of Los Angeles (1991) 54 Cal. 3d 202.
 8
            For these reasons, the burden shifts to Plaintiff to provide enough evidence to rebut the
 9

10 moving party's claim and create a genuine issue of material fact. However, Plaintiff has not done

11 so or presented evidence to meet this burden in his Opposition.

12               C.       Plaintiff Has Not And Cannot Establish A Claim For Damages
13          Where a plaintiff fails to introduce evidence of damages, summary judgment is appropriate
14
     where the underlying claims require proof of damages. See, e.g., Weinberg v. Whatcom Cty., 241
15
     F.3d 746, 752 (9th Cir. 2001) (holding that the district court did not err by granting the defendant's
16
     motion for summary judgment where evidence pertaining to damages was essential to the
17

18 determination pertaining to the claims on which the motion for summary judgment was based).
19 Proof of damages requires a plaintiff to "prove both the fact and the amount of damage." Lindy
20 Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1407 (9th Cir. 1993), abrogated on other grounds

21 by SunEarth, Inc. v. Sun Earth Solar Power Co., 839 F.3d 1179, 1181 (9th Cir. 2016) (en banc)

22
     (per curiam). However, "[i]t is well-established under California law that while the fact of
23
     damages must be clearly shown, the amount need not be proved with the same degree of certainty,
24
     so long as the court makes a reasonable approximation." Robi v. Five Platters, Inc., 918 F.2d 1439
25

26 1443 (9th Cir. 1990); see also Story Parchment Co. v. Paterson Parchment Paper Co., 282 U.S.

27 555, 562, 51 S. Ct. 248, 75 L. Ed. 544 (1931) (holding that although damages must be "the certain

28 result of the wrong," they may be "uncertain in respect of their amount."); see also 22 Am. Jur.
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 1 2d Damages § 172 (1965) ("[n]o recovery can be had for loss of profits which are determined to

 2 be uncertain, contingent, conjectural, or speculative").

 3
              "Damages that are speculative, remote, imaginary, contingent, or merely possible cannot
 4
     serve as a legal basis for recovery." Lumens Co. v. GoEco LED LLC, No.
 5

 6 SACV1401286CJCDFMX, 2018 WL 1942768, at *6, n.7 (C.D. Cal. Jan. 3, 2018), aff'd, 807 F.

 7 App'x 612 (9th Cir. 2020) (noting in the parties' cross-motions for summary judgment, the

 8 defendant's promises to provide data and admissible evidence at trial did not relieve the defendant

 9 of its burden to present admissible evidence to meet its burden on summary judgment). Courts

10
     may grant summary judgment where the party bearing the burden of proof "has no expert
11
     witnesses or designated documents providing competent evidence from which a jury could fairly
12
     estimate damages." McGlinchy v. Shell Chem. Co., 845 F.2d 802, 808 (9th Cir. 1988) (affirming a
13

14 district court's grant of summary judgment where the plaintiffs "did not make a showing sufficient

15 to establish the amount, causation, or fact of damages") (citation omitted).

16
              Here, Plaintiff has not offered any substantive evidence as to Defendant's injuries or
17
     proposed damages. Until Plaintiff's Opposition, Plaintiff maintained that he has not seen a doctor
18
     in approximately ten years and has no medical documentation of his injuries. Plaintiff did not
19
20 produce any evidence of injuries, medical records, or any damages during discovery nor in his

21 Rule 26(a) disclosures. Because of this Plaintiff will likely be precluded from presenting evidence

22 of the same at trial. Ultimately, Plaintiff has not established or offered substantive proof that he

23 was injured as a result of Defendant's actions. Accordingly, Defendant cannot prove damages

24
   since he cannot prove that his alleged injuries were a result of the alleged assault and/or battery.
25
   Because Plaintiff has not and cannot establish that he was injured as a result of Defendant's actions
26
   and sustained damages from those same actions, Defendant should be granted summary judgment
27

28 as to Plaintiff's claims.
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 1 V.         PLAINTIFF CANNOT CARRY HIS BURDEN OF ESTABLISHING ANY VIABLE
              CLAIM AND HAS FAILED TO RAISE ANY TRIABLE ISSUE OF MATERIAL
 2            FACT WHICH A JURY COULD REASONABLY FIND FOR PLAINTIFF
 3
              To preclude summary judgment, Plaintiff must provide "significantly probative evidence"
 4
     that would support a verdict in her favor. Jaramillo v. Adams Cty. Sch. Dist. 14, 680 F.3d 1267,
 5
     1269 (10th Cir. 2012). The "mere existence of a scintilla of evidence in support of the plaintiff's
 6
     position will be insufficient [is insufficient to pass summary judgment] and the nonmoving party
 7

 8 may not simply rest upon its pleadings to satisfy its burden." see Anderson v. Liberty Lobby, Inc.

 9 (1986) 477 U.S. 242, 252.

10            To preclude summary judgment, Plaintiff must provide more than the mere regurgitation of
11
     his pleadings and allegations therein. Plaintiff, here, has entirely failed to achieve this and has
12
     provided no material evidence indicating the existence of any genuine dispute of material fact. All
13
     facts of consequence to the instant matter are uncontroverted and Plaintiff has offered no evidence
14

15 that contradicts nor conflicts with such undisputed material facts, nor has Plaintiff pointed to any

16 relevant evidence that could even remotely infer a triable issue of which the possibility of a jury

17 returning a favorable verdict for Plaintiff exists.

18            Plaintiff has not offered any new evidence to meet his burden to overcome summary
19
     judgment. The only evidence Plaintiff has relied on in his Opposition and which is materially
20
     relevant to the issues presented in this matter, is limited to the short excerpts of Plaintiff's deposition
21
     testimony which he did not include as evidence. Taken together and viewed in its entirety with the
22

23 pleadings and other material evidence presented, there is no evidence that Defendant's employee

24 intentionally hit Plaintiff with a trolley cart. Summary judgment in favor of Defendants is thereby

25 not only proper and warranted but necessary to avoid the unnecessary waste of judicial time and

26
     resources it will take to litigate such a meritless case.
27
              ///
28
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 1 VI.        CONCLUSION

 2            Accordingly, for all the foregoing reasons, Defendant submits that Plaintiff has failed to
 3
     carry his burden of setting forth admissible evidence demonstrating that he is entitled to relief on
 4
     any of his claims and, therefore, the motion for summary judgment should be granted. Fed. R. Civ.
 5
     P. 56.
 6

 7
     DATED: April 6, 2023                       MANNING & KASS
 8
                                                ELLROD, RAMIREZ, TRESTER LLP
 9

10
                                                By:          /s/ Gabriella A. Pedone
11                                                    Gabriella Pedone
                                                      Attorneys for Defendant, TARGET
12
                                                      CORPORATION
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 1                                         PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF SAN DIEGO

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of San Diego, State of California. My business address is 225 Broadway,
 4 Ste 1200, San Diego, CA 92101.

 5 On April 6, 2023, I served true copies of the following document(s) described as

 6         DEFENDANT TARGET CORPORATION'S REPLY IN SUPPORT OF MOTION
           FOR SUMMARY JUDGMENT, OR ALTERNTIVELY, SUMMARY
 7         AJUDICATION
 8   on the interested parties in this action as follows:
 9   Bryon U Jackson
10   zaqw1478@hotmail.com

11   David Roth                        Gabriella Pedone
     dvr@manningllp.com                gpedone@slpattorney.com
12                                     gabriella.pedone@manningkass.com

13   BY CM/ECF NOTICE OF ELECTRONIC FILING: I caused the above-listed documents to
     be electronically filed with the Clerk of the Court by using the CM/ECF system. Participants in
14   the case who are registered CM/ECF users will be served by the CM/ECF system. Participants in
     the case who are not registered CM/ECF users will be served by mail or by other means permitted
15   by the court rules.
16          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
17
            Executed on April 6, 2023, at San Diego, California.
18
19                                                      Lacey Sipsey
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